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      NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
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 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11
      WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
12    and FACEBOOK, INC., a Delaware
      corporation,                                  DECLARATION OF AARON S. CRAIG
13                                                  IN SUPPORT OF MOTION OF
                   Plaintiffs,                      DEFENDANTS NSO GROUP
14                                                  TECHNOLOGIES LIMITED AND Q
            v.                                      CYBER TECHNOLOGIES LIMITED
15                                                  FOR RECONSIDERATION OF
      NSO GROUP TECHNOLOGIES LIMITED                DISCOVERY ORDER AND TO COMPEL
16    and Q CYBER TECHNOLOGIES LIMITED,             PRODUCTION OF DOCUMENTS DUE
                                                    TO PLAINTIFFS’ FAILURE TO
17                 Defendants.                      PROVIDE A PRIVILEGE LOG
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                                                    Action Filed: 10/29/2019
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      DECLARATION OF AARON S. CRAIG                                     Case No. 4:19-cv-07123-PJH
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 1           I, Aaron S. Craig, declare as follows:
 2           1.      I am a member of the California State Bar and the bar of this court. I am a partner

 3    in the law firm of King & Spalding LLP and counsel to NSO Group Technologies Limited and Q

 4    Cyber Technologies Limited (collectively “NSO” or “Defendants”) in this action. I have personal

 5    knowledge of the facts set forth herein and, except as otherwise stated, could testify competently

 6    to each fact herein.

 7           2.      I submit this declaration in support of Defendants’ concurrently-filed Motion for

 8    Reconsideration of Discovery Order and to Compel Production of Documents Due to Plaintiffs’

 9    Failure to Provide a Privilege Log.

10           3.      Defendants have served six requests for productions of documents on dates March

11    8, 2023, May 1, 2023, December 8, 2023, April 22, 2024, July 24, 2024, and August 1, 2024.

12           4.      Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ Responses

13    and Objections to Defendants’ First Set of Requests for Production of Documents to Plaintiffs,

14    dated April 17, 2023.

15           5.      Attached hereto as Exhibit B is a true and correct copy of Plaintiffs’ Responses

16    and Objections to Defendants’ Second Set of Requests for Production of Documents to Plaintiffs,

17    dated May 31, 2023.

18           6.      Attached hereto as Exhibit C is a true and correct copy of Plaintiffs’ Amended

19    Responses and Objections to Defendants’ First Set of Requests for Production of Documents to

20    Plaintiffs, dated August 24, 2023.

21           7.      Attached hereto as Exhibit D is a true and correct copy of Plaintiffs’ Amended

22    Responses and Objections to Defendants’ Second Set of Requests for Production of Documents to

23    Plaintiffs, dated August 24, 2023.

24           8.      Attached hereto as Exhibit E is a true and correct copy of Plaintiffs’ Second

25    Amended Responses and Objections to Defendants’ First Set of Requests for Production of

26    Documents to Plaintiffs, dated September 8, 2023.

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       DECLARATION OF AARON S. CRAIG                   1                      Case No. 4:19-cv-07123-PJH
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 1           9.     Attached hereto as Exhibit F is a true and correct copy of Plaintiffs’ Second

 2    Amended Responses and Objections to Defendants’ Second Set of Requests for Production of

 3    Documents to Plaintiffs, dated September 8, 2023.

 4           10.    Attached hereto as Exhibit G is a true and correct copy of Plaintiffs’ Responses

 5    and Objections to Defendants’ Third Set of Requests for Production of Documents to Plaintiffs,

 6    dated January 10, 2024.

 7           11.    Attached hereto as Exhibit H is a true and correct copy of Plaintiffs’ Responses

 8    and Objections to Defendants’ Fourth Set of Requests for Production of Documents to Plaintiffs,

 9    dated May 29, 2024.

10           12.    Attached hereto as Exhibit I is a true and correct copy of a letter from Plaintiffs’

11    counsel dated August 11, 2024, asserting claims of privilege and inadvertent production as to

12    certain previously-produced documents.

13           13.    Defendants have produced a log of their documents withheld or partially redacted

14    based on the attorney-client privilege. Defendants have not withheld or redacted any documents

15    based on work-product protection.

16           I declare under penalty of perjury that the foregoing is true and correct. Executed this 3rd

17    day of September 2024, in London, United Kingdom.

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19                                           AARON S. CRAIG
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        DECLARATION OF AARON S. CRAIG                 2                        Case No. 4:19-cv-07123-PJH
